                                                                                  Motion GRANTED.
                                                                                  Hearing reset for 10/5/12
                       IN THE UNITED STATES DISTRICT COURT                        at 2:30 p.m.
                           MIDDLE DISTRICT OF TENNESSEE
                              NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )        CASE NO. 2:11-00002
                                              )        JUDGE TRAUGER
JESSICA BURNS                                 )

                   MOTION TO CONTINUE SENTENCING HEARING

       Defendant Jessica Burns, by and through undersigned counsel, does hereby move the

Court to reschedule her sentencing hearing presently set for July 9, 2012 at 2:30 p.m. For reason,

the sentencing hearing of William Jerome Burns has been rescheduled to September 27, 2012

(Docket Entry No. 965). It is anticipated Ms. Burns will testify at that hearing, and requests her

sentencing hearing be rescheduled to a date and time after September 27, 2012.


                                      THE LAW OFFICE OF DAVID L. COOPER, P.C.

                                               s/ David L. Cooper
                                              DAVID L. COOPER BPR #11445

                                              Third Avenue North Building
                                              208 Third Avenue, North
                                              Suite 300
                                              Nashville, Tennessee 37201
                                              (615) 256-1008

                                              ATTORNEY FOR JESSICA BURNS

                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing Defendant Jessica Burns’
Motion to Continue the Sentencing Hearing has been delivered by the Court’s CM/ECF
system to Alex Little , AUSA, 110 9th Ave. South, Suite A-961, Nashville, TN 37203-3870, and
other counsel for co-defendants, on this 27th day of June, 2012.

                                                         s/ David L. Cooper
                                                       DAVID L. COOPER



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